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~ OFFICE OF JULI
DAVID SAM

UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION
td

(aon) | ORDER
PRELIMINARILY APPROVING
SETTLEMENT

GERHARD W. GOHLER, IRA, et al.,
On Behalf of Themselves and All
Others Similarly Situated,

Plaintiffs,

ROBERT L. WOOD, et al.,

Defendants.

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)
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VS. )
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)
) No. 92-C-181-S

 

Alb
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WHEREAS, a class action is pending before the Court entitled

Gohier, et al. v. Wood, et al., No. 92-C-181-S (the "Class

 

Action"); and

WHEREAS, the Settling Parties have applied to the Court,
pursuant to Rule 23 of the Federal Rules of Civil Procedure for an
Order approving a partial settlement of the Class Action in
accordance with a Stipulation and Agreement of Partial Settlement,
dated as of May 21, 1998 (the "Settlement Agreement"), which,
together with the Exhibits annexed thereto, sets forth the terms
and conditions for a proposed partial settlement of the Class
Action and for dismissal of the Class Action with prejudice as
against the Settling Defendants upon the terms and conditions set
forth therein; and the Court having read and considered the
Settlement Agreement and the Exhibits annexed thereto;

NOW, THEREFORE, IT IS HEREBY ORDERED:

1. This Order hereby incorporates by reference the
definitions in the Settlement Agreement, and all terms used herein
shall have the same meanings as set forth in the Settlement
Agreement.

2. The Court hereby preliminarily approves the Settlement
Agreement and the settlement described therein.

3. For purposes of this settlement, the "Settlement Class"
is certified and shall consist of all persons, including the
Representative Plaintiffs, who purchased or otherwise acquired
Bonneville stock or convertible subordinated debentures during the
period beginning August 15, 1986 through and including November 12,
1991, and who suffered any loss, damage or injury with regard to

such purchase or other acquisition. Excluded from the Settlement
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Class are: Defendants, Former Defendants and Bonneville; members
of the immediate family of any Individual Defendant or Former
Defendant; any entity in which any of the Defendants, Former
Defendants or Bonneville has or had a controlling interest;
directors and officers of Bonneville and the legal representatives,
heirs, successors, or assigns of any such excluded person or
entity. Also excluded from the Settlement Class are those persons
who timely and validly request exclusion from the Settlement Class
pursuant to the "Notice of Pendency and Partial Settlement of Class
Action" to be sent to the Settlement Class.

4, A hearing (the "Hearing") shall be held before the
Honorable David Sam, United States District Court Judge, on
August a6, 1998 at, A:3O p.m., at the United States District
Court, District of Utah, Central Division, 350 South Main Street,
Salt Lake City, Utah, to determine whether the proposed partial
settlement of the Class Action on the terms and conditions provided
for in the Settlement Agreement is fair, reasonable and adequate
and should be approved by the Court and the Litigation dismissed on
the merits and with prejudice as against the Settling Defendants;
whether the Judgment, as provided in 91.11 of the Settlement
Agreement should be entered herein; to determine whether the
proposed Plan of Allocation of Settlement Fund should be approved
and to consider Representative Plaintiffs’ counsel’s application
for reimbursement of attorneys’ fees, costs and expenses. The
Court may adjourn the Hearing without further notice to members of
the Class.

5. The Court hereby approves, as to form and content, the

Notice of Pendency and Partial Settlement of Class Action (the
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"Notice") and the Summary Notice for Publication (the "Summary
Notice") annexed as Exhibits A-1 and A-3 hereto. The Court finds
that the publication, mailing and distribution of the Notice and
the Summary Notice substantially in the manner and form set forth
in 46 of this Order meets with the requirements of Rule 23 of the
Federal Rules of Civil Procedure and due process, and is the best
notice practicable under the circumstances and shall constitute due
and sufficient notice to all persons entitled thereto.

6. Plaintiffs’ Settlement Counsel are hereby empowered to
supervise and administer the notice procedure, as set forth below:

(a) On or before July (Oo , 1998, Plaintiffs’
Settlement Counsel shall mail or cause to be mailed copies of the
Notice, substantially in the form annexed as Exhibit A-1, to all
members of the Class who can be identified with reasonable effort.

(b) On or before Duly lle , 1998, Plaintiffs’
Settlement Counsel shall cause a Summary Notice, substantially in
the form annexed as Exhibit A-3, to be published once in the
national edition of Investor’s Business Daily; and

(c) At or prior to the Hearing provided for in ]4 of
this Order, Plaintiffs’ Settlement Counsel shall serve and file
with the Court proof, by affidavit or declaration, of such
publication and mailing.

7. Nominees who purchased or otherwise acquired Bonneville
stock or convertible subordinated debentures during the period
beginning August 15, 1986 through and including November 12, 1991,
shall send the Notice to all beneficial owners of such Bonneville
stock or convertible subordinated debentures within ten (10) days

after receipt thereof, or send a list of the names and addresses of
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such beneficial owners to Plaintiffs’ Settlement Counsel or their
agent within ten (10) days of receipt thereof, in which event
Plaintiffs’ Settlement Counsel or their agent shall promptly mail
the Notice to such beneficial owners.

8. Members of the Settlement Class shall be bound by all
determinations and judgments in the Class Action concerning the
settlement, whether favorable or unfavorable.

9. Class Members who wish to exclude themselves from the
Settlement Class must do so in accordance with the instructions
contained in the "Notice of Pendency and Partial Settlement of
Class Action."

10. Members of the Settlement Class may enter an appearance
in the Litigation, at their own expense, individually or through
counsel of their choice. If they do not enter an appearance, they
will be represented by Plaintiffs’ Settlement Counsel.

11. Any Member of the Settlement Class may appear and show
cause, if he has any, why the proposed settlement of the Class
Action embodied in the Settlement Agreement should or should not be
approved as fair, reasonable and adequate, or why the Judgment
should or should not be entered thereon, or why the proposed Plan
of Allocation of Settlement Fund should or should not be approved;
or why attorneys’ fees, costs and expenses should or should not be
reimbursed to counsel for plaintiffs in the amount requested;
provided, however, that no Settlement Class Member or any other
Person shall be heard or entitled to contest the approval of the
terms and conditions of the proposed settlement or, if approved,
the Judgment to be entered thereon approving the same, or the

approval of the Plan of Allocation, or the award of attorneys’ fees
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and reimbursement of expenses to counsel for plaintiffs and the
Settlement Class, unless on or before Avgus+ | | , 1998, that
person has served by hand or by first class mail written objections
and copies of any papers and briefs in support of their position
upon Keith F. Park, Blake M. Harper, Theodore J. Pintar, Milberg
Weiss Bershad Hynes & Lerach LLP, 600 W. Broadway, Suite 1800, San
Diego, CA 92101; Steve Berman, Hagens & Berman, 1301 Fifth Avenue,
Suite 2929, Seattle, WA 98101; Robert C. Schubert, Schubert & Reed
LLP, Two Embarcadero Center, Suite 1050, San Francisco, CA 94111;
Thomas R. Karrenberg, Anderson & Karrenberg, 700 Bank One Tower, 50
W. Broadway, Salt Lake City, UT 84101; Dale Barnes, McCutchen,
Doyle, Brown & Enersen LLP, Three Embarcadero Center, San
Francisco, CA 94111-4066; Gary F. Bendinger, Giauque, Crockett,
Bendinger & Peterson, 170 South Main, Suite 400, Salt Lake City, UT
84101-1664, and filed said objections, papers and briefs with the
Clerk of the Court. Any member of the Settlement Class who does
not make his, her or its objection in the manner provided for
herein, shall be deemed to have waived such objection and shall
forever be foreclosed from making any objection to the fairness or
adequacy of the proposed settlement as incorporated in the
Settlement Agreement, or the approval of the Plan of Allocation, or
to any award of attorneys’ fees, costs and expenses to counsel for
plaintiffs unless otherwise ordered by the Court. Class Members
who wish to exclude themselves from the Class must do so in writing
by August \]_, 1998, in accordance with the instructions
contained in the "Notice of Pendency and Partial Settlement of

Class Action," attached as Exhibit A-1 hereto.
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12. Upon the occurrence of the Effective Date, all Settlement
Class Members, whether or not they file a Proof of Claim and
Release in the form attached hereto as Exhibit A-2, shall be
forever barred from asserting any Released Claims, as defined in
the Settlement Agreement, against the Released Persons as defined
in the Settlement Agreement, and any such Settlement Class Member
shall be conclusively deemed to have released any and all such
Released Claims against the Released Persons.

13. The provisions of the Settlement Agreement with regard to
the Settlement Fund and the Escrow and the rights, limitations, and
obligations with respect to the Settlement Fund as specified in the
Settlement Agreement are approved.

14. All papers in support of the settlement and any
application for an award of attorneys’ fees and reimbursement of
expenses shall be filed at least seven (7) days prior to the
Hearing.

15. At or after the Hearing, the Court shall determine
whether any application for approval of the Plan of Allocation or
for attorneys’ fees or reimbursement of expenses shall be approved.

16. Subject to the limitations set forth in the Settlement
Agreement with regard to the payment of the costs of notice out of
the Settlement Fund, all reasonable costs incurred in identifying
and notifying Settlement Class Members shall be paid as set forth
in the Settlement Agreement.

17. The Court reserves the right to adjourn the date of the
Hearing and any adjournment thereof without further notice to the

Members of the Settlement Class, and retains jurisdiction to
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consider all further applications arising out of or connected with
the proposed settlement.

18. Pending final determination as to whether the settlement
contained in the Settlement Agreement should be approved,
plaintiffs and all Members of the Settlement Class, whether
directly, representatively, or in any other capacity, whether or
not such persons have appeared in the Class Action, shall not
commence, prosecute, or participate in (unless under legal
compulsion) any action or proceeding in any court, tribunal, or
administrative agency asserting any of the Released Claims against
the Released Persons which have been or could have been asserted in
the Class Action based upon, related to or arising from the acts
and transactions alleged therein, including the Released Claims.

19. The Court accepts the filing of the Supplemental
Agreement under seal. The Clerk of the Court shall maintain the
Supplemental Agreement under seal absent further order of the Court

after notice to the Settling Parties.

DATED: fawkeg 6498 Loc Lo

THE HONORABLE DAVID SAM
UNITED STATES DISTRICT JUDGE

Submitted by:

MILBERG WEISS BERSHAD
HYNES & LERACH LLP

WILLIAM S. LERACH

KEITH F. PARK

BLAKE M. HARPER (#1377)

THEODORE J. PINTAR

STEVEN W. PEPI

   
 

 
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Case 2:92-cv-00181-DS Document 590 Filed 07/07/98

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ISOM
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Attorneys for Plaintiffs

BONNEVIL\DLM13387.e-a

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Liaison Counsel for Plaintiffs

UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

GERHARD W. GOHLER, IRA, et al.,
On Behalf of Themselves and All
Others Similarly Situated,

Plaintiffs,
vs.
ROBERT L. WOOD, et al.,
Defendants.

 

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NOTICE OF PENDENCY AND
PARTIAL SETTLEMENT OF CLASS
ACTION

EXHIBIT A-1

No. 92-C-181-S
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TO: ALL PERSONS WHO PURCHASED OR OTHERWISE ACQUIRED THE COMMON
STOCK OR CONVERTIBLE SUBORDINATED DEBENTURES OF BONNEVILLE
PACIFIC CORPORATION ("BONNEVILLE") DURING THE PERIOD BEGINNING
AUGUST 15, 1986 THROUGH AND INCLUDING NOVEMBER 12, 1991

PLEASE READ THIS NOTICE CAREFULLY
THIS NOTICE RELATES TO A PROPOSED PARTIAL SETTLEMENT
OF THIS CLASS ACTION LITIGATION
AND IF YOU ARE A CLASS MEMBER IT CONTAINS IMPORTANT INFORMATION
AS TO YOUR RIGHTS TO OBTAIN A SHARE OF THE
SETTLEMENT FUND FURTHER DESCRIBED BELOW

YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal
Rules of Civil Procedure and an Order of the United States District
Court District of Utah, Central Division (the "Court"), that a
Partial Settlement (the "Settlement"), in the amount of One Million
Eight Hundred Thousand Dollars ($1,800,000) of the above-captioned
litigation (the "Litigation") has been reached by certain of the
parties, which Settlement is subject to approval by the Court, and
which, if approved, will result in (a) the creation of the
Settlement Fund which shall be disbursed as set forth below; and
(b) the dismissal of the Litigation with prejudice as against the
Settling Defendants and the release of the Released Claims (as
defined below).

This Notice is not intended to be, and should not be construed
as, an expression of any opinion by the Court with respect to the
truth of the allegations in the Litigation or the merits of the
claims or defenses asserted. This Notice is merely to advise you

of the pendency of this Litigation, the proposed partial settlement

of the Litigation and of your rights thereunder.
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I. DEFINITIONS
1. "Bonneville" means Bonneville Pacific Corporation, and
all of its predecessors, successors, parents, subsidiaries,

divisions and related or affiliated entities.

2. "Settlement Class" or "Class" mean all persons, including
the Representative Plaintiffs, who purchased or otherwise acquired
Bonneville stock or convertible subordinated debentures during the
period beginning August 15, 1986 through and including November 12,
1991, and who suffered any loss, damage or injury with regard to
such purchase or other acquisition. Excluded from the Settlement
Class are: Defendants, Former Defendants and Bonneville; members
of the immediate family of any Individual Defendant or Former
Defendant; any entity in which any of the Defendants, Former
Defendants or Bonneville has or had a controlling interest;
directors and officers of Bonneville and the legal representatives,
heirs, successors, or assigns of any such excluded person or
entity. Also excluded from the Settlement Class are those persons
who timely and validly request exclusion from the Settlement Class
pursuant to this "Notice of Pendency and Partial Settlement of
Class Action" ("Notice").

3. "Settling Defendants" means Mayer Brown & Platt;

Robert A. Helman; and Harvey Nixon.

Il. THE SETTLEMENT CLASS
By Order dated Uy 6 , 1998, the Court certified a
Settlement Class, for the purpose of the Settlement only, and

directed this Notice be given to members of the Settlement Class.
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III. THE RIGHTS OF SETTLEMENT CLASS MEMBERS

If you are a member of the Settlement Class, you may receive
the benefit of and you will be bound by the terms of the proposed
settlement described in Section IV of this Notice, upon approval of
the Court.

If you are a member of the Settlement Class, you have the
following options:

1. TO REMAIN A MEMBER OF THE SETTLEMENT CLASS AND TO SHARE
IN THE PROCEEDS OF THE SETTLEMENT, YOU NEED DO NOTHING [OTHER THAN
COMPLETE AND SUBMIT THE PROOF OF CLAIM AND RELEASE FORM WHICH
ACCOMPANIES THIS NOTICE. THE PROOF OF CLAIM AND RELEASE MUST BE
POSTMARKED ON OR BEFORE Octo \2 , 1998 AND DELIVERED TO THE
CLAIMS ADMINISTRATOR AT THE ADDRESS BELOW.

2. If you do not wish to be included in the Settlement Class
and you do not wish to participate in the proposed partial
settlement described in this Notice, you may request to be
excluded. To do so, you must so state in writing postmarked and
mailed no later than Aug usct I , 1998. You must set forth the

name of this Litigation (Gohler, et al. v. Wood, et al., No.

 

92-C-181-S), your name, address and telephone number, and the name
and address of the record owner if different from your own. You
must also set forth the number of Bonneville securities purchased
and sold during the Settlement Class Period and the dates and
prices of such purchase(s) and sale(s). The exclusion request
should be addressed as follows:

Bonneville Securities Litigation

c/o Gilardi & Co.

P.O. Box 5100
Larkspur, California 94977-5100
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NO REQUEST FOR EXCLUSION WILL BE CONSIDERED VALID UNLESS ALL OF THE
INFORMATION DESCRIBED ABOVE IS INCLUDED IN ANY SUCH REQUEST.

If you validly request exclusion from the Settlement Class,
(a) you will be excluded from the Settlement Class, (b) you will
not share in the proceeds of the partial settlement described
herein, (c) you will not be bound by any judgment entered in the
Litigation, and (d) you will not be precluded, by reason of your
decision to request exclusion from the Settlement Class, from
otherwise prosecuting an individual claim, if timely, against the
Settling Defendants based on the matters complained of in the
Litigation.

3. If you do not request to be excluded from the Settlement
Class, whether or not you submit a Proof of Claim and Release, you
will be bound by any and all determinations or judgments in the
Litigation in connection with the Settlement entered into and
approved by the Court, whether favorable or unfavorable to the
Settlement Class; including, without limitation, the Judgment
described in Section IV.10 of this Notice.

4. If you do not request to be excluded from the Settlement
Class, you may object in the manner set forth below to the
Settlement, the Plan of Allocation of the Settlement Fund, and/or
the application of Representative Plaintiffs’ counsel for
attorneys’ fees and reimbursement of expenses from the Settlement
Fund. The filing of a Proof of Claim and Release by a Settlement
Class Member does not preclude a Settlement Class Member from
objecting to the Settlement. However, if your objection is
rejected you will be bound by the Settlement and the Judgment just

as if you had not objected.
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5. If you do not request to be excluded but do not fill out
and submit the Proof of Claim and Release form accompanying this
Notice, you will not share in the proceeds of the Settlement, but
you will be bound by any judgment entered by the Court.

If you are a member of the Settlement Class, you may, but are
not required to, enter an appearance through counsel of your own
choosing at your own expense. If you do not do so, you will be
represented by Plaintiffs’ Settlement Counsel: Milberg Weiss
Bershad Hynes & Lerach LLP, Keith F. Park, Blake M. Harper,
Theodore J. Pintar, 600 West Broadway, Suite 1800, San Diego,
California 92101-5050; Hagens & Berman, Steve Berman, 1301 Fifth
Avenue, Suite 2929, Seattle, Washington, 98101; Schubert & Reed
LLP, Robert C. Schubert, Two Embarcadero Center, Suite 1050, San
Francisco, California 94111; and Anderson & Karrenberg, Thomas R.
Karrenberg, 700 Bank One Tower, 50 West Broadway, Salt Lake City,

Utah 84101.

Iv. THE PROPOSED SETTLEMENT

A Settlement has been reached in the Litigation between the
plaintiffs and the Settling Defendants, which is embodied in a
Stipulation and Agreement of Partial Settlement (the "Settlement
Agreement") dated as of May 21, 1998, which is on file with the
Court. This Settlement Agreement will be submitted for Court
approval. The following description of the proposed partial
settlement of the Litigation is only a summary and reference is
made to the text of the Settlement Agreement, on file with the

Court, for a full statement of its provisions:
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1. A settlement fund (the "Settlement Fund") has been placed
into escrow by or on behalf of the Settling Defendants consisting
of One Million Eight Hundred Thousand Dollars ($1,800,000). The
Settlement Fund has earned and will continue to earn interest until
the funds are distributed.

This Settlement Fund will be added to the funds listed below
obtained in previous settlements (the "Previous Settlements") and

distributed pursuant to the Plan of Allocation described below.

SETTLEMENT AMOUNT
Portland General $ 2.5 million
Bonneville Individuals $ 2.9 million
Underwriters $ 9.5 million
Accountants $10.0 million
2. Upon approval of the Settlement Agreement by the Court

without change or modification and entry of the Judgment that
becomes Final and upon satisfaction of other conditions to the
partial settlement, described below, the applicable portions of the
Settlement Fund will be distributed under the Court’s direction,
supervision and order, including distribution to Authorized
Claimants pursuant to the Plan of Allocation described below, for
reimbursement of attorneys’ fees and costs and expenses incurred or
to be incurred by the Representative Plaintiffs’ counsel in
connection with the Litigation. The Net Settlement Fund shall be
maintained by the Escrow Agent for the benefit of the Settlement
Class, as provided in the Settlement Agreement.

3. To participate in the Settlement, you are required to
submit a valid Proof of Claim and Release in the form accompanying
this Notice. Unless otherwise ordered by the Court, any Settlement

Class Member who fails to submit a Proof of Claim and Release by
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Ocdche \.. , 1998, shall be forever barred from receiving any
payments pursuant to the Settlement Agreement, but will in all
other respects be subject to and bound by the provisions of the
Settlement Agreement, the release provided for therein, and the
final Judgment entered by the Court.

4. The Net Settlement Fund (as well as funds obtained from
the Previous Settlements) will be distributed to Settlement Class
Members who submit valid, timely Proof of Claim forms ("Authorized
Claimants") under this Plan of Allocation. The Plan of Allocation
provides that you will be eligible to participate in the
distribution of the Settlement Fund only if you have a net loss on
all transactions in Bonneville common stock or debentures during
the Settlement Class Period.

5. To the extent there are sufficient funds in the Net
Settlement Fund, each Authorized Claimant will receive an amount
equal to the Authorized Claimant's claim, as defined below. If,
however, the amount in the Net Settlement Fund is not sufficient to
permit payment o fthe total claim of each Authorized Claimant, then
each Authorized Claimant shall be paid the percentage that each
Authorized Claimant’s claim bears to the total of the claims of all
Authorized Claimants. Payment in this manner shall be deemed
conclusive against all Authorized Claimants.

6. The total of all profits shall be subtracted from the
total of all losses to determine if a Settlement Class Member has
a claim. In addition, any amounts received from a claim filed in
the Bonneville bankruptcy proceedings (In re Bonneville Pacific
Corporation, debtor, Bankruptcy No. 91A-27701 (D. Utah)) with

respect to Bonneville common stock or debentures shall be offset
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against a claim made in this litigation. Only if a Settlement
Class Member had a net loss, after profits from all transactions in
Bonneville common stock or debentures during the Settlement Class
Period and amounts received from the Bonneville bankruptcy
proceedings are subtracted from the total of losses, will such
Class Member be eligible to receive a distribution from the Net
Settlement Fund.
A claim will be calculated as follows:
COMMON STOCK
For shares of Bonneville common stock that were purchased
on August 15, 1986 through November 12, 1991, and
1. sold prior to November 13, 1991, the
claim per share is the purchae price less the
sales price;
2. retained at the end of November 12, 1991,
the claim is equal to the purchase price.
DEBENTURES
For shares of Bonneville Debentures that were purchased
on August 18, 1989 (including the offering) through
November 12, 1991, and
1. sold prior to November 13, 1991, the
claim per debenture is the purchase price less
the sales price;
2. retained at the end of November 12, 1991,
the claim is equal to the purchase price.
7. The date of purchase or sale is the "contract" or "trade"
date as distinguished from _ the "settlement" date. The

determination of the price paid per share and the price received
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per share, shall be exclusive of all commissions, taxes, fees and
charges.

8. For Settlement Class Members who made multiple purchases
or multiple sales during the Settlement Class Period, the earliest
subsequent sale shall be matched with the earliest purchase and
chronologically thereafter for purposes of the Claim calculations.

9. The Court has reserved jurisdiction to allow, disallow or
adjust the Claim of any Settlement Class Member on equitable
grounds.

10. If the proposed settlement is approved by the Court, the
Court will enter a judgment or judgments (the "Judgment") which
will:

(a) Dismiss the Litigation as against the Settling
Defendants with prejudice and without costs;

(b) Adjudge that the plaintiffs and each Settlement
Class Member, whether or not they file a Proof of Claim and
Release, except those who both timely and validly request exclusion
in accordance with the procedures detailed herein, have released
and shall be deemed conclusively to have released the Released
Claims (described below) against the Settling Defendants and each
and all of their Related Parties (described below).
Notwithstanding that the plaintiffs or any Settlement Class Member
may hereafter discover facts in addition to or different from those
which the plaintiffs and Settlement Class Members now know or
believe to be true with respect to the Litigation and Released
Claims or to the subject matter of the release, the plaintiffs and
each Settlement Class Member shall be deemed, upon the Effective

Date, to fully, finally and forever settle and release any and all
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Released Claims as against the Settling Defendants, and each and
all of their Related Parties; and

(c) Bar and permanently enjoin the plaintiffs and each
Settlement Class Member from prosecuting any Released Claims
against the Settling Defendants and each and all of their Related
Parties.

11. As used above, "Released Claims" means and includes (a)
any and all claims, including Unknown Claims (as defined below), or
causes of action that have been asserted by the Representative
Plaintiffs or the Settlement Class Members, or any of them, against
the Settling Defendants and/or their Related Parties, or any of
them in the Litigation, and (b) any and all claims, including
Unknown Claims (as defined below), or causes of action that could
have been asserted by the Representative Plaintiffs or the
Settlement Class Members, or any of them, against the Settling
Defendants and/or their Related Parties, or any of them, based upon
or related to both the purchase or other acquisition of Bonneville
stock or convertible subordinated debentures by the Representative
Plaintiffs or Settlement Class Members during the Settlement Class
Period and the facts, transactions, events, occurrences, acts,
disclosures, statements, omissions or failures to act which were
alleged or could have been alleged in the Litigation relating in
any way to the facts, transactions, events, occurrences, acts,
disclosures, statements, omissions and failures to act which were
so alleged.

12. "Related Parties" as used in the definition of Released
Claims above, means each of a Person’s past or present directors,

officers, employees, partners, principals, members, owners,

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managers, agents, insurers, co-insurers, reinsurers, controlling
shareholders, attorneys, consultants, personal or legal
representatives, predecessors, successors, parents, subsidiaries,
divisions, joint ventures, assigns, spouses, heirs, associates,
related or affiliated entities, any entity in which a Person has a
controlling interest, any members of their immediate families, or
any trust of which any Settling Defendant is the settlor or which
is for the benefit of any Settling Defendant and/or member(s) of
his family. Related Parties also does not include securities
brokers and dealers.

13. "Unknown Claims," as used in the definition of Released
Claims above, means any Released Claim which the Representative
Plaintiffs or any Settlement Class Member does not know or suspect
to exist in his, her or its favor at the time of the release of the
Released Persons which, if known by him, her, or it, might have
affected his, her or its settlement with and release of the
Released Persons, or might have affected his, her or its decision
not to object to the Settlement. The Settling Parties stipulate
and agree that, upon the Effective Date, the Representative
Plaintiffs and each of the Settlement Class Members’ shall
automatically release any and all of the Released Claims and shall
be deemed to have, and by operation of the Judgment shall have,
released the Released Claims and expressly waived and relinquished,
to the fullest extent permitted by law, the provisions, rights and
benefits of §1542 of the California Civil Code, which provides:

A general release does not extend to claims which

the creditor does not know or suspect to exist in his

favor at the time of executing the release, which if

known by him must have materially affected his settlement
with the debtor.
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The Representative Plaintiffs and each of the Settlement Class
Members, upon the Effective Date, shall have and shall be deemed to
have, by operation of the Judgment, waived any and all provisions,
rights and benefits conferred by any law of any state or territory
of the United States, or principle of common law, which is similar,
comparable or equivalent to §1542 of the California Civil Code.
The Representative Plaintiffs and each of the Settlement Class
Members may hereafter discover facts in addition to or different
from those which he, she or it now knows or believes to be true
with respect to the subject matter of the Released Claims, but the
Representative Plaintiffs and each Settlement Class Member, upon
the Effective Date, shall be deemed to have, and by operation of
the Judgment shall have, fully, finally, and forever settled and
released any and all Released Claims, known or unknown, suspected
or unsuspected, contingent or non-contingent, whether or not
concealed or hidden, which now exist, or heretofore have existed
upon any theory of law or equity now existing or coming into
existence in the future, including, but not limited to, conduct
which is negligent, intentional, with or without malice, or a
breach of any duty, law or rule, without regard to the subsequent
discovery or existence of such different or additional facts. The
Representative Plaintiffs and Settlement Class Members each
acknowledge that the foregoing waiver was separately bargained for
and a key element of the Settlement of which this release is a

part.
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Vv. NOTICE TO BANKS, BROKERS, AND OTHER NOMINEES
Banks, brokerage firms, institutions, and other persons who

are nominees who purchased or otherwise acquired the securities of
Bonneville for the beneficial interest of other persons on any day
beginning August 15, 1986 through and including November 12, 1991,
are requested within ten (10) days of receipt of the Notice, (1) if
they have not already done so, to provide Representative
Plaintiffs’ counsel with the names and addresses of such beneficial
owners, or (2) to forward copies of this Notice to each such
beneficial purchaser and provide Representative Plaintiffs’ counsel
with written confirmation that the Notice has been so forwarded.
Representative Plaintiffs’ counsel offer to repay your reasonable
expenses of complying with this request upon submission of
appropriate documentation. Additional copies of the Notice may be
obtained from Representative Plaintiffs’ counsel for forwarding to
such beneficial owners. All such correspondence to Representative
Plaintiffs’ counsel should be addressed as follows:

Bonneville Securities Litigation

c/o Gilardi & Co.

P.O. Box 5100
Larkspur, California 94977-5100

VI. REQUEST FOR FEES, COSTS AND EXPENSES

The law firms representing the plaintiffs will apply to the
Court, at or after the conclusion of the Hearing described below,
for an award of attorneys’ fees of up to one-third of the
Settlement Fund and reimbursement of costs and expenses incurred in
connection with the Litigation plus interest thereon. Such sums as

may be granted by the Court will be paid from the Settlement Fund.
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Representative Plaintiffs’ counsel have also reserved the right,
after the Judgment of the Court approving the Settlement Agreement

with the Settling Defendants becomes Final, to make additional
applications for attorneys’ fees and expenses incurred or to be

incurred in the prosecution of the Litigation.

VII. THE FINAL APPROVAL HEARING

 

A Settlement Hearing will be held before the Honorable David
Sam, United States District Court Judge, United States District
Court, District of Utah, Central Division, 350 South Main Street,
Salt Lake City, Utah, at A: 30 P.m., on Tupust 3G _, 1998, for
the purpose of determining whether the Settlement Agreement and the
proposed partial settlement is fair, reasonable and adequate and
whether the Settlement Agreement should be approved by the Court
and the Litigation dismissed on the merits and with prejudice as
against the Settling Defendants, and the Judgment entered, as
provided above; to approve the Plan of Allocation of Settlement
Fund(s); and to consider Representative Plaintiffs’ counsel's
application for attorneys’ fees and reimbursement of costs and
expenses. The Hearing on the approval of the Settlement Agreement,
the approval of the Plan of Allocation and on the application for
attorneys’ fees and reimbursement of costs and expenses may be
adjourned from time to time by the Court at the Hearing or any
adjourned session thereof without further notice.

Any Member of the Settlement Class who has not requested
exclusion may appear at the Hearing to show cause why the proposed
settlement should not be approved and the Litigation should not be

dismissed on the merits with prejudice as against the Settling

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Defendants, or the Plan of Allocation approved and/or to present
any opposition to the application of Representative Plaintiffs’
counsel for attorneys’ fees and reimbursement of costs and
expenses; provided, however, that no such person shall be heard,
unless his, her or its objection or opposition is made in writing
and is filed, together with copies of all other papers and briefs

to be submitted by him, her or it with the Court no later than

Agus: (7 , 1998, and showing due proof of service on:

MILBERG WEISS BERSHAD HYNES &
LERACH LLP

KEITH F. PARK

BLAKE M. HARPER (#1377)

THEODORE J. PINTAR

600 West Broadway, Suite 1800

San Diego, CA 92101

SCHUBERT & REED LLP
ROBERT C. SCHUBERT
JUDEN JUSTICE REED

Two Embarcadero Center
Suite 1050

San Francisco, CA 94111

HAGENS & BERMAN
STEVE W. BERMAN
CLYDE A. PLATT
JEFFREY T. SPRUNG
1301 Fifth Avenue
Suite 2929
Seattle, WA 98101

Co-Lead Counsel for Plaintiffs

ANDERSON & KARRENBERG
THOMAS R. KARRENBERG (#3726)
SCOTT A. CALL (#0544)

700 Bank One Tower

50 West Broadway

Salt Lake City, UT 84101

Liaison Counsel for Plaintiffs

MUNGER, TOLLES & OLSON
STEVE PERRY

355 South Grand Avenue
35th Floor

Los Angeles, CA 90071

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Counsel for Settling Defendants
Any member of the Settlement Class who does not make his, her or
its objection or opposition in the manner provided shall be
deemed to have waived all objections and oppositions to the
fairness, reasonableness and adequacy of the proposed partial
settlement, the Plan of Allocation and to the request of
Representative Plaintiffs’ counsel for attorneys’ fees and

reimbursement of costs and expenses.

VIII. EXAMINATION OF PAPERS AND INQUIRIES
For a more detailed statement of the matters involved in this
Litigation, reference is made to the pleadings, to the Stipulation
and Agreement of Partial Settlement and to other papers filed in
this Litigation, which may be inspected at the Office of the Clerk
of the United States District Court, District of Utah, Central
Division, United States Courthouse, 350 South Main Street, Salt
Lake City, Utah, during business hours of each business day.
Inquiries regarding the Litigation should be addressed as
follows:
Bonneville Securities Litigation
c/o Gilardi & Co.
P. O. Box 5100
Larkspur, California 94977-5100
PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S

OFFICE REGARDING THIS NOTICE

DATED: uly 6, 1993 BY ORDER OF THE COURT
UNITED STATES DISTRICT COURT
DISTRICT OF UTAH

BONNEVIL\DLM13388.a-1
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MILBERG WEISS BERSHAD

HYNES & LERACH LLP
WILLIAM S. LERACH
KEITH F. PARK
BLAKE M. HARPER (#1377)
THEODORE J. PINTAR
STEVEN W. PEPICH
600 West Broadway, Suite 1800
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SCHUBERT & REED LLP
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JUDEN JUSTICE REED

Two Embarcadero Center, Suite 1050

San Francisco, CA 94111
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Co-~Lead Counsel for Plaintiffs

ANDERSON & KARRENBERG
THOMAS R. KARRENBERG (#3726)
SCOTT A. CALL (#0544)

700 Bank One Tower

50 West Broadway

Salt Lake City, UT 84101
Telephone: 801/534-1700

Liaison Counsel for Plaintiffs

UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

GERHARD W. GOHLER, IRA, et al.,
On Behalf of Themselves and All
Others Similarly Situated,
Plaintiffs,
vs.

ROBERT L. WOOD, et al.,

Defendants.

 

PROOF OF CLAIM AND RELEASE

EXHIBIT A-2

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No. 92-C-181-5
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TO: ALL PERSONS WHO PURCHASED OR OTHERWISE ACQUIRED BONNEVILLE
PACIFIC CORPORATION ("BONNEVILLE") STOCK OR DEBENTURES DURING
THE PERIOD BEGINNING AUGUST 15, 1986 THROUGH AND INCLUDING
NOVEMBER 12, 1991
If you purchased or otherwise acquired Bonneville common stock
or debentures during the period described above, have not requested
exclusion from the Settlement Class and are not a Defendant in this
Litigation, or a member of the immediate family of any of the
Individual Defendants, an entity in which any of the Defendants has
or had a controlling interest, a director or officer of Bonneville,
or the legal representative, heir, successor or assign of any such
excluded person or entity, you should read the accompanying Notice
of Pendency and Partial Settlement of Class Action ("Notice") and
complete this Proof of Claim and Release form.
IN ORDER TO BE ELIGIBLE TO PARTICIPATE IN THE SETTLEMENT
DESCRIBED IN THE ACCOMPANYING NOTICE, YOU MUST MAIL YOUR
COMPLETED PROOF OF CLAIM AND RELEASE TO THE CLAIMS

ADMINISTRATOR ON OR BEFORE October 12, 1998.

GENERAL INSTRUCTIONS

 

1. To recover as a member of the Settlement Class based on
your claims in the Bonneville class action (the "Litigation"), you
must complete and on page _ hereof, sign this Proof of Claim and
Release. If you fail to file a properly addressed (as set forth in
paragraph 3 below) Proof of Claim and Release, your claim may be
rejected and you may be precluded from any recovery from the
Settlement Fund created in connection with the proposed settlement

of the Litigation.
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2. Submission of this Proof of Claim and Release, however,
does not assure that you will share in the proceeds of the
settlement of the Litigation.

3. YOU MUST MAIL YOUR COMPLETED AND SIGNED PROOF OF CLAIM

AND RELEASE POSTMARKED ON OR BEFORE ocyo@eR!2 1998, ADDRESSED AS

 

FOLLOWS:
Bonneville Securities Litigation
c/o Claims Administrator
Gilardi & Co.
P.O. Box 5100
Larkspur, California 94977-5100
4. If you are a Member of the Settlement Class and you do

not timely request exclusion in connection with the proposed
settlement, you are bound by the terms of any judgment entered in
the Litigation, WHETHER OR NOT YOU SUBMIT A PROOF OF CLAIM AND
RELEASE.

5. If you are NOT a Member of the Settlement Class as
defined in the Notice DO NOT submit a Proof of Claim and Release
form.

CLAIMANT IDENTIFICATION

1. If you purchased Bonneville common stock or debentures
and held the certificate(s) in your name, you are the beneficial
purchaser as well as the record purchaser. If, however, you
purchased these securities, and the certificate(s) were registered
in the name of a third party, such as a nominee or brokerage firm,
you are the beneficial purchaser and the third party is the record
purchaser.

2. Use Part I of this form entitled "Claimant
Identification" to identify each purchaser of record, if different

from the beneficial purchaser ("nominee") of Bonneville common
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stock or debentures which form the basis of this claim. THIS CLAIM
MUST BE FILED BY THE ACTUAL BENEFICIAL PURCHASER OR PURCHASERS, OR
THE LEGAL REPRESENTATIVE OF SUCH PURCHASER OR PURCHASERS, OF THE
STOCK OR DEBENTURES UPON WHICH THIS CLAIM IS BASED.

3. All joint purchasers must sign this claim. Executors,
administrators, Guardians, conservators and trustees must complete
and sign this claim on behalf of persons represented by them and
their authority must accompany this claim and their titles or
capacities must be stated. The Social Security (or taxpayer
identification) number and telephone number of the beneficial owner
may be used in verifying the claim. Failure to provide the
foregoing information could delay verification of your claim or

result in rejection of the claim.

4. A claimant whose stock was held in a custodian account
under a Uniform Gift to Minors Act ("UGMA"), may file in his or her
own name, if he or she is now of age. In this event, the former

custodian does not have to sign the Proof of Claim and Release.

Custodians under the UGMA should identify themselves as beneficial

purchasers, not nominees (e.g., John Smith, Custodian for Jack
Smith UGMA). In this instance, use the minor’s Social Security
Number.

5. Corporate officers or partners filing for a claimant

corporation or partnership should fill in the name of the entity as
the Beneficial Purchaser(s), and sign their names and titles where

indicated on the signature page.
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CLAIM FORM

1. Use Part II of this form entitled "Schedule of
Transactions in Bonneville Common Stock or Debentures," to supply
all required details of your transaction(s) in these securities.
If you need more space or additional schedules, attach separate
sheets giving all of the required information in substantially the
same form. Sign and print or type your name on each additional
sheet.

2. On the schedules provide all of the requested information
with respect to all of your purchases and all of your sales of
Bonneville common stock or debentures which took place at any time
beginning August 15, 1986 through and including November 12, 1991
(the "Settlement Class Period"), whether such transactions resulted
ina profit or a loss. Failure to report all such transactions may
result in the rejection of your claim.

3. List each transaction in the Settlement Class Period
separately and in chronological order, by trade date, beginning
with the earliest. You must accurately provide the month, day and
year of each transaction you list.

4. The term "Purchase Price" means the amount paid for the
securities (exclusive of commissions and transfer taxes) and the
term "Sales Price" means the amount realized on the sale of the
securities (before commissions and transfer taxes). The date of
purchase or sale is the "contract" or "trade" date as distinguished
from the "settlement" date. The date of covering a "Short sale" is
deemed to be the date of purchase of the security. The date of a

"Short sale" is deemed to be the date of sale of the security.
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5. Broker’s confirmations or other documentation of your
transactions in Bonneville common stock or debentures should be
attached to your claim. Failure to provide this documentation
could delay verification of your claim or result in rejection of
your claim. Documentation submitted will not be returned to
claimants. You are, therefore, urged to make a copy for your files
of the Proof of Claim and Release and all documentation that you

Submit with it.
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UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION
Gohler, et al. v. Wood, et al.
No. 92-C-181-S
PROOF OF CLAIM AND RELEASE

Must be Postmarked No Later Than:

Please Type or Print

PART I: CLAIMANT IDENTIFICATION

 

Beneficial Owner’s Name (First, Middle, Last)

 

Street Address

 

 

 

 

 

 

 

City State Zip Code
Foreign Province Foreign Country
Individual
Social Security Number or
Taxpayer Identification Number Corporation/Other
(work)
Area Code Telephone Number
(home)
Area Code Telephone Number

 

Record Owner’s Name (if different from beneficial owner listed
above)
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PART II: SCHEDULE OF TRANSACTIONS IN BONNEVILLE COMMON STOCK OR
DEBENTURES
A) Purchases (August 15, 1986 - November 12, 1991,
inclusive) of Bonneville common stock or debentures
Type of
Security No. of Shares

Trade Date

C=common stock or Face Amount of

 

 

 

 

 

 

 

 

 

 

 

 

Mo/Day/Year D=debenture Debentures Purchased Purchase Price
1.
1.
3.
B) Sales (August 15, 1986 - November 12, 1991,
inclusive) of Bonneville common stock or debentures
Type of
Security No. of Shares

Trade Date

C=common stock or Face Amount of

 

 

 

 

 

 

 

 

Mo/Day/Year D=debenture Debentures Sold Sales Price
1.
1.
3.
Cc) Number of shares of Bonneville common stock or face
amount of debentures held at close of trading on
November 12, 1991:
IMPORTANT NOTICE
IF YOU FILED A CLAIM IN THE BONNEVILLE

BANKRUPTCY PROCEEDINGS BASED ON YOUR BONNEVILLE
COMMON STOCK OR DEBENTURES YOU MUST ATTACH A
COPY OF THAT CLAIM TO THIS PROOF OF CLAIM AND
RELEASE

YOU MUST READ AND SIGN THE RELEASE ON PAGE __

If you require additional space, attach extra schedules in the same

format as above.

Copies of broker’s confirmations or other

documentation evidencing your transactions in Bonneville common

stock or debentures should be attached.
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PART III: SUBMISSION TO JURISDICTION OF COURT AND ACKNOWLEDGEMENTS

I (we) submit this Proof of Claim and Release under the
terms of the Stipulation of Settlement described in the Notice. I
(we) also submit to the jurisdiction of the United States District
Court for the District of Utah with respect to my (our) claim as a
Settlement Class Member and for purposes of enforcing the release
set forth herein and any judgment which may be entered in the
Litigation. I (we) further acknowledge that I (we) am (are) bound
by and subject to the terms of any judgment that may be entered in
the Litigation.

I (we) agree to furnish additional information to the
Claims Administrator to support this claim if required to do so.
PART IV: RELEASE

A. I (we) hereby acknowledge full and complete
satisfaction of, and do hereby fully, finally and forever settle,
discharge and release all Released Claims (including Unknown
Claims) against all Released Persons.

B. The terms used in this release are defined below:

1. "Released Claims" shall collectively mean and

include (a) any and all claims, including Unknown Claims as defined
below, or causes of action that have been asserted by the
Representative Plaintiffs or the Settlement Class Members, or any
of them, against the Settling Defendants and/or their Related
Parties, or any of them in the Litigation, and (b) any and all
claims, including Unknown Claims as defined below, or causes of
action that could have been asserted by the Representative
Plaintiffs or the Settlement Class Members, or any of them, against

the Settling Defendants and/or their Related Parties, or any of
Case 2:92-cv-00181-DS Document 590 Filed 07/07/98 PagelD.63 Page 37 of 49

them, based upon or related to both the purchase or other
acquisition of Bonneville stock or convertible subordinated
debentures by the Representative Plaintiffs or a Settlement Class
Member during the Settlement Class Period and the facts,
transactions, events, occurrences, acts, disclosures, statements,
omissions or failures to act which were alleged or could have been
alleged in the Litigation relating in any way to the facts,
transactions, events, occurrences, acts, disclosures, statements,
omissions and failures to act which were so alleged.

2. "Unknown Claims" means any Released Claims which
the Representative Plaintiffs or any Settlement Class Member does
not know or suspect to exist in his, her or its favor at the time
of the release of the Released Persons, which if known by him, her
or it, might have affected his, her or its settlement with and
release of the Released Persons, or might have affected his, her or
its decision not to object to this Settlement. The Settling
Parties stipulate and agree that, upon the Effective Date, the
Representative Plaintiffs and each of the Settlement Class Members
shall automatically release any and all of the Released Claims and
shall be deemed to have, and by operation of the Judgment shall
have, released the Released Claims and expressly waived and
relinquished, to the fullest extent permitted by law, the
provisions, rights, and benefits of §1542 of the California Civil
Code, which provides:

A general release does not extend to claims

which the creditor does not know or suspect to
exist in his favor at the time of executing the
release, which if known by him must have

materially affected his settlement with the
debtor.
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The Representative Plaintiffs and each of the Settlement Class
Members, upon the Effective Date, shall have and shall be deemed,
by operation of the Judgment, to have waived any and all
provisions, rights and benefits conferred by any law of any state
or territory of the United States, or principle of common law,
which is similar, comparable or equivalent to §1542 of the
California Civil Code. The Representative Plaintiffs, the
Settlement Class Members, or any of them, may hereafter discover
facts in addition to or different from those which he, she or it
now knows or believes to be true with respect to the subject matter
of the Released Claims, but the Representative Plaintiffs, the
Settlement Class Members, and each of them, upon the Effective
Date, shall be deemed to have, and by operation of the Judgment
shall have, fully, finally, and forever settled and released any
and all Released Claims, known or unknown, suspected or
unsuspected, contingent or non-contingent, whether or not concealed
or hidden, which now exist, or heretofore have existed upon any
theory of law or equity now existing or coming into existence in
the future, including, but not limited to, conduct which is
negligent, intentional, with or without malice, or a breach of any
duty, law or rule, without regard to the subsequent discovery or
existence of such different or additional facts. Releasors
acknowledge that the foregoing waiver was separately bargained for
and a key element of the settlement of which this release is a
part.

3. "Released Persons" means each and all of the

Defendants, and their respective Related Parties.
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4, "Defendants" means Robert L. Wood; Raymond L.
Hixson; Robert N. Pratt; L. Wynn Johnson; John T. Dunlop; Gerald C.
Monson; Stephen D. Nadauld; Carl T. Peterson; David P. Hirschi;
Mark E. Rinehart; Portland General Corporation; Portland General
Holdings, Inc.; Richard G. Reiten; Richard E. Dyer; C.D. Hobbs;
Peter J. Brix; Ken L. Harrison; Calvert Knudsen; Joseph Hirko;
Piper Jaffray Inc. formerly known as Piper, Jaffray & Hopwood, Inc.
and Piper Jaffray Companies Inc.; Kidder Peabody & Co.; Hanifen,
Imhoff Inc.; Norwest Bank Minnesota, N.A.; Deloitte & Touche LLP
(which is now known as Deloitte & Touche USA LLP) ("Deloitte);
Barry Erickson; Mayer Brown & Platt; Robert A. Helman and Harvey
Nixon.
Cc. "Related Parties: means each of a Person’s past or

present directors, officers, employees, partners, principals,

members, owners, managers, agents, insurers, co-insurers,
reinsurers, controlling shareholders, attorneys, consultants,
personal or legal representatives, predecessors, successors,

parents, subsidiaries, divisions, joint ventures, assigns, spouses,
heirs, associates, related or affiliated entities, any entity in
which a Person has a controlling interest, any members of their
immediate families, or any trust of which any Settling Defendant is
the settlor or which is for the benefit of any Settling Defendant
and/or member(s) of his, her or its family. Related Parties does
not include the Non-Settling Defendants. Related Parties also does
not include securities brokers and dealers.

D. This release shall be of no force or effect unless
and until the Court gives final approval to the Settlement and the

Effective Date occurs.
Case 2:92-cv-00181-DS Document 590 Filed 07/07/98 PagelD.66 Page 40 of 49

PART V: REPRESENTATIONS

I (we) hereby warrant and represent that I (we) have not
assigned or transferred or purported to assign or transfer,
voluntarily or involuntarily, any matter released pursuant to this
release or any other part or portion thereof.

I (we) certify that I am (we are) not subject to backup

withholding under the provisions of Section 3406(a) (1) (c) of the
Internal Revenue Code.
NOTE: If you have been notified by the Internal Revenue Service
that you are subject to backup withholding, please strike out the
language that you are not subject to backup withholding in the
certification above.

I declare under penalty of perjury under the laws of the
United States of America that the foregoing information supplied by
the undersigned is true and correct and that this Proof of Claim
and Release form was executed this day of

in
(month) (year) (City, State, Country)

 

 

(Sign your name here)

 

(Type or print your name here)

 

(Capacity of persons signing, e.g.,
Beneficial Purchaser, Executor or
Administrator)
ACCURATE CLAIMS PROCESSING TAKES A
SIGNIFICANT AMOUNT OF TIME

THANK YOU FOR YOUR PATIENCE

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Reminder Checklist:
1. Please sign the above release form.

2. Remember to attach copies of your supporting
documentation, if available.

3. Do not send originals or copies of stock certificates.

4. Keep a copy of your claim form for your records.

5. If you desire an acknowledgment of receipt of your claim
form, please send it Certified Mail, Return Receipt
Requested.

6. If you move, please send us your new address.

BONNEVILLE\DLM13483.a-2
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UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

GERHARD W. GOHLER, IRA, et al.,
On Behalf of Themselves and All
Others Similarly Situated,
Plaintiffs,
vs.

ROBERT L. WOOD, et al.,

Defendants.

 

SUMMARY NOTICE FOR
PUBLICATION
EXHIBIT A-3

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No. 92-C-181-S
Case 2:92-cv-00181-DS Document 590 Filed 07/07/98 PagelD.69 Page 43 of 49

TO: ALL PERSONS WHO PURCHASED OR OTHERWISE ACQUIRED BONNEVILLE
PACIFIC CORPORATION ("BONNEVILLE") COMMON STOCK OR CONVERTIBLE
SUBORDINATED DEBENTURES DURING THE PERIOD BEGINNING AUGUST 15,
1986 THROUGH NOVEMBER 12, 1991.

YOU ARE HEREBY NOTIFIED, pursuant to an Order of the United
States District Court, District of Utah, Central Division, that a
hearing will be held on Pragust AG , 1998, at 2% :30 p.-m., before
the Honorable David Sam, at the United States District Courthouse,
350 South Main, Salt Lake City, Utah, for the purpose of
determining (1) whether a proposed partial settlement of the above-
captioned Litigation for the cash sum of $1.8 million should be
approved by the Court as fair, reasonable and adequate; (2)
whether, thereafter, this Litigation should be dismissed on the
merits and with prejudice as against the Settling Defendants as set
forth in the Stipulation and Agreement of Partial Settlement dated
as of May _, 1998, which is on file with the Court; (3) whether
the proposed Plan of Allocation of Settlement Fund should be
approved; and (4) the reasonableness of the application of
Representative Plaintiffs’ counsel for attorneys’ fees and
reimbursement of costs and expenses incurred in connection with the
Litigation with interest thereon.

If you purchased or otherwise acquired Bonneville common stock
or convertible subordinated debentures during the period beginning
August 15, 1986 through and including November 12, 1991, your
rights may be affected by this Litigation and the partial
settlement thereof. If you have not received a detailed Notice of
Pendency and Partial Settlement of Class Action, you may obtain

copies by writing to Bonneville Pacific Securities Litigation, c/o

Gilardi & Co., P.O. Box 5100, Larkspur, California 94977-5100. You
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will be bound by any judgment rendered in the Litigation unless you
request to be excluded, in writing, to the address stated in this
paragraph, postmarked by Rugus? V1, 1998.

Plaintiffs’ Settlement Counsel in this Litigation are:

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Co-Lead Counsel for Plaintiffs
PLEASE DO NOT CONTACT THE COURT OR THE

CLERK’S OFFICE REGARDING THIS NOTICE.

DATED: Tey f , 1998 BY ORDER OF THE COURT
UNITED STATES DISTRICT COURT
CENTRAL DIVISION OF UTAH

BONNEVIL\DLM13389.a-3
Case 2:92-cv-00181-DS Document 590 Filed 07/07/98 PagelD.71 Page 45 of 49

DECLARATION OF SERVICE BY MAIL

 

I, the undersigned, declare:

1. That declarant is and was, at all times herein mentioned,
a citizen of the United States and a resident of the County of San
Diego, over the age of 18 years, and not a party to or interested
in the within action; that declarant’s business address is 600 West
Broadway, Suite 1800, San Diego, California 92101.

2. That on June 30, 1998, declarant served the [PROPOSED]
ORDER PRELIMINARILY APPROVING SETTLEMENT by depositing a true copy
thereof in a United States mailbox at San Diego, California ina
sealed envelope with postage thereon fully prepaid and addressed to
the parties listed on the attached Service List.

3. That there is a regular communication by mail between the
place of mailing and the places so addressed.

I declare under penalty of perjury that the foregoing is true
and correct. Executed this 30th day of June, 1998, at San Diego,

California.

L
DANELLE L. McNERTNEY 0
BONNEVIGS9£ 2:92-cv-00181-DS Document 590
«. Service List - 05/07/98

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Case 2:92-cv-00181-DS Document 590 Filed 07/07/98 PagelD.73 Page 47 of 49

ce
United States District Court
for the
District of Utah
July 7, 1998

* * MATLING CERTIFICATE OF CLERK * *

Re: 2:92-cv-00181

True and correct copies of the attached were mailed by the clerk to the
following:

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PagelD.74

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